                             Case 22-14766-SMG         Doc 89        Filed 12/27/22      Page 1 of 7

Official Form 417A (12/18)
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                                 [Caption as in Form 416A, 416B, or416D, as appropriate]

                             NOTICE OF APPEAL AND STATEMENT OF ELECTION


        Part 1: Identify the appellant(s)
                                                                                                                    1J
            1. Nam/K.IJ:Zpiif:            t.. f; vt;. Siil(/2/Ell.S
            2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
                 appeal:

                 Por appeals in an adversary proceeding.          Far appeals in a bankruptcy case and not in an
                 □ Plaintiff                                      adversary proceeding.
                 □ Defendant                                      1)1:f)ebtor
                 □ Other (describe) _ _ _ _ _ __
                                                                 .i1:J Creditor
                                                                  □ Trustee
                                                                  □ Other (desaibe) - - - - - - -

       Part 2: Identify the subiect of this appeal

            1.   Describe the judgment, order, or decree appealed       fromCJlf.'t:n. 6 nR~c .-9 / A y
            2.   State the d~te on which the judgment, order, or decree was         A.Fret_ri_e_~_____
       Part 3: Identify the other parties to the appeal                           '/J~ll=/Vlt, 61\ I~ J.O~
       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages if necessary):

            1.   Party:·(\fU, fit. t- -      ->itlt:.~"'      Cf:_ 0 ~ f;' ,::__
                                                      st I ;( __ Cc, /WF                                      .

                                                               /JVJ,?rffh'IJ'? ,C.L. ., :sJ;r /7
            2.   PartyJ./1151..L 5 t'IJ/("'y:                       {1 If'///)--' $ r.£ 11'-'t'fn T
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        Official Fonn 417A                  Notice of Appeal and Statement of Election                            page1
                     Case 22-14766-SMG         Doc 89        Filed 12/27/22       Page 2 of 7



Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

          b/Appellant(s) elect to have the appeal heard by the United States District Court rather than by
          / .. the Bankruptcy Appellate Panel.




S                                           ppellant(s)
if no represe e        y an a omey

Name, address, and telephone number of attorney
{or a~ ell nt s) if ot represented by an attorney):




Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in§ 304(9) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate flier in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director's Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




Official Fonn 417A                   Notice of Appeal and Statement of Election                          page2
                Case 22-14766-SMG   Doc 89   Filed 12/27/22   Page 3 of 7
                                    22-BK-14766-SMG



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.f'a-J,,,td 'Pt~ Title Insurance: First & Primary Contract between the
            Homeowner and Lender: All contracts, including the note, refer
            to the back to Title Insurance
                a. The State of Florida requires when there is a mortgage for
                   the Homeowner and Lender to have Title Insurance
                b. Lender's Title Insurance contract was the first contract
                   purchased for the Lender by the homeowner to use in the
                   advent of title issues.
                c. Title issue is due to missing land
         2. Lender Breached an implied contract.
         3. Prove the Loan Servicer was not properly qualified staff who
            understood Title Insurance.
         4. The attorney (Peter Kelly) representing Wells Fargo/Bank New
            York Mellon on December 8, 2022, hearing was unaware that
            there was a title issue even though there have been 200+ emails
            regarding the topic sent to Specialized Loan services since early
            2021.
         5. The Mortgage note has a requirement in the miscellaneous
            proceeds are the first (mortgage note, paragraph 5, property not
            as described) to be used to pay off a mortgage note by parties.
         6. Is the Lender damaging themselves and the Debtor by not
            enforcing their rights under the Lender's Title insurance? Yes
         7. Is the Lender breaching an implied contract by not enforcing the
            Title insurance

                                                                            Page 1 of 2
       Case 22-14766-SMG   Doc 89   Filed 12/27/22   Page 4 of 7
                           22-BK-14766-SMG



8. There are three Title Insurance policies.
9. Did the Lender help make In Rem Relief situation by not taking
   timely action as required by our title insurance and its implied
   contract?




  Ralph L. Sanders
  561 SW 60th ave
  Plantation, Fl. 33317
  P (754)801-7097




                                                                   Page 2 of 2
                Case 22-14766-SMG           85
                                        Doc 89     Filed 12/27/22
                                                   Filed 12/13/22 Page
                                                                  Page 51 of
                                                                          of 73




ORDERED in the Southern District of Florida on December 12, 2022.




                                                  Scott M. Grossman, Judge
                                                  United States Bankruptcy Court




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DMSION
Inre:

RALPH LEVI SANDERS, JR.                                            CASE NO. 22-14766-SMG
                                                                   CHAPTER 13
                        Debtor.
- - - - - - - - - - - - - -I
    ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        TIDS CASE came on for hearing on December 8, 2022 at 9:00AM on the Motion for

Relief from the Automatic Stay ("Motion") filed by Specialized Loan Servicing LLC, as servicing

agent for The Bank of New York Mellon, f/k/a The Bank of New Yorlc, successor in interest to

JPMorgan Chase Bank, N .A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2,

Asset-Backed Certificates, Series 2006-SD2 ("Movant") (Doc. No. 64). For the reasons stated

orally on the record, it is

        I.      The Motion (Doc. No. 64) is granted.
               Case
               Case 22-14766-SMG
                    22-14766-SMG           Doc 85
                                               89              12/13/22
                                                         Filed 12/27/22    Page 62 of
                                                                                   of 73




       2.      The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

terminated as to Movant's interest in the following property:

       LOT 22, IN BLOCK 4, OF PLANTATION PARK 10m ADDITION, ACCORDING
       TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK SS, AT PAGE 21, OF
       THE PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.

       AKA 561 SW 60 Ave., Plantation, FL 33317 ("collateral").

       3.      Movant has in rem relief to take any and all steps necessary to exercise any and all

rights it may have in the collateral, to gain possession of said collateral, to have such other and

further in rem relief as is just, but the Movant shall not obtain in personam relief against the Debtor.

                                                  ###-
Submitted by:
Gavin N. Stewart, Esquire
P.O. Box 5703
Clearwater, FL 33758
P: (727) 565-2653
F: (727) 213-9022
E: bk@stewartlegalgroup.com

Counsel for Movant is directed to serve a copy of this order to the parties listed below and file a
Certificate of Service with the Court.

Copies furnished to:
VIA REGULAR MAIL
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

VIA CM/ECF NOTICE
Michael J. Brooks, Esq.
8660 West Flagler Street
Miami, FL 33144

 Robin R. Weiner
Min R. Weiner, Chapter 13 Trustee
,-_. Office Box 559007
.Port Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
             Case
             Case22-14766-SMG
                  22-14766-SMG Doc
                               Doc 85
                                   89 Filed
                                      Filed 12/13/22
                                            12/27/22   Page 3
                                                            7 of 3
                                                                 7




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Suite 1204
Miami, FL 33130
